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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MICHAEL J. POWERS, JASMINE WOODS,                    )
KEITH ROSE, MICHAEL LHOTAK,                          )
And UMAR LEE,                                        )
                                                     )
       Plaintiffs,                                   )
                                                     )
vs.                                                  )       Case No.        4:16-cv-1299 RWS
                                                     )
CITY OF FERGUSON, et al.,                            )
                                                     )
       Defendants.                                   )

                               STIPULATION OF DISMISSAL
                                    WITH PREJUDICE

       Pursuant to Fed R. Civ. P. 41(a)(1) Plaintiffs Michael J. Powers, Jasmine Woods, Keith

Rose, Michael Lhotak, and Umar Lee hereby stipulate to the dismissal with prejudice of all

claims against Defendants City of Ferguson, Tim Harris, Sean Gibbons and the John Doe

Defendants. This dismissal resolves all claims against all parties. Parties to bear their own costs.

Dated: August 13, 2018

                                                             DOWD & DOWD, P.C.

                                                     By:     /s/ Douglas P. Dowd
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the above pleading was served via this
Court’s electronic filing system on all counsel of record this 13th day of August, 2018.



                                                           /s/ Douglas P. Dowd
